              Case 2:18-cv-00609-MJP Document 35 Filed 05/17/21 Page 1 of 3




1                                                                    The Honorable Marsha J. Pechman

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7                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
8                                         AT SEATTLE
9     COURTNEY HOLLIDAY, individually and
      on behalf of all others similarly situated,       No. 2:18-cv-00609-MJP
10
                                 Plaintiff,             STIPULATION OF VOLUNTARY
11                                                      DIMISSAL WITH PREJUDICE
             v.
12
      GROUPME, INC., a Delaware corporation,
13
                                 Defendant.
14
15
                  STIPULATION OF VOLUNTARY DIMISSAL WITH PREJUDICE
16                           PURSUANT TO RULE 41(a)(1)(A)(ii)
17           Plaintiff Courtney Holliday (“Plaintiff”) and Defendant Springboard Acquisitions

18    Corp., incorrectly sued as GroupMe, Inc. (“Defendant”), by and through their undersigned

19    attorneys, hereby stipulate and agree, pursuant to Federal Rule of Civil Procedure

20    41(a)(1)(A)(ii), that the above entitled action hereby is and shall be voluntarily dismissed with

21    prejudice as to the individual claims asserted by Plaintiff in this action and without prejudice as

22    to the claims of the putative class. Each party shall bear its own costs and attorneys’ fees.

23                                                   Respectfully submitted,

24                                                   COURTNEY HOLLIDAY, individually and on
                                                     behalf of all others similarly situated,
25
26    Date: May 17, 2021                              By: /s/ Corrie J. Yackulic
                                                          Corrie J. Yackulic
27                                                        CORRIE YACKULIC LAW FIRM LLC
                                                          110 Prefontaine Place South, #304
     STIPULATION OF VOLUNTARY DISMISSAL                                      CORRIE YACKULIC LAW FIRM LLC
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     (2:18-cv-00609-MJP) - 1                                                              Seattle, WA 98104
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              Case 2:18-cv-00609-MJP Document 35 Filed 05/17/21 Page 2 of 3



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8
                                               Attorneys for Plaintiff and the Putative Class
9
                                           SPRINGBOARD ACQUISITIONS CORP.
10
       Dated: May 17, 2021
11                                         By: /s/ Kenneth E. Payson (with permission)
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                                               Attorneys for Defendant Springboard
21                                             Acquisitions Corp., incorrectly sued as
                                               GroupMe, Inc.
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              Case 2:18-cv-00609-MJP Document 35 Filed 05/17/21 Page 3 of 3




1                                    CERTIFICATE OF SERVICE

2            I hereby certify that on May 17, 2021, I had the foregoing electronically filed with the

3     Clerk of the Court using the CM/ECF system, which will send notification of such filing to

4     those attorneys of record registered on the CM/ECF system. All other parties (if any) shall be

5     served in accordance with the Federal Rules of Civil Procedure.

6            DATED this 17th day of May, 2021.

7
                                                     /s/ Corrie J. Yackulic
8                                                    Corrie J. Yackulic
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